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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

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PHILLIP LACEFIELD, iri/pre .m
‘ -#\ ii‘:,,* F_M.Dr,;j
Plainciff,
v. No. 05-2233-B/P

THE NEW YORK TIMES, et al.,

Defendants.

 

ORDER OF REFERENCE

 

Before the court is Plaintiff’s Motion for Enlargement of Time to Make Service of

Complaint and Summons to Defendants filed on July 27, 2005 .

This motion is referred to the United States Magistrate Judge for determination Any

objections to the magistrate judge’s order shall be made within ten (10) days after service of the

order, setting forth particularly those portions of the order objected to and the reasons for the

objections. Failure to timely assign as error a defect in the magistrate judge’s order will

constitute a waiver of that objection. S__ee Rule 72(a), Federal Rules of Civil Procedure.

IT IS SO ORDERED this __day of August, 2005.

 

J.DANIEL BREEN \
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Notice of Distribution

This notice confirms a copy of the document docketed as number 10 in
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Honorable J. Breen
US DISTRICT COURT

